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UNITED STATES DISTRICT COURT                                NORTHERN DISTRICT OF TEXAS


CAN CAPITAL ASSET SERVICING, INC.,                §
F/K/A NEWLOGIC BUSINESS LOANS,                    §
INC.,                                             §
          Plaintiff,                              §
                                                  §
vs.                                               §          Civil Action 3:19-cv-00992-L
                                                  §
HOMESTAR FIELD SERVICES, LLC, a                   §
foreign limited liability company D/B/A           §
HOMESTAR FIELD SERVICES and                       §
MICHEAL BREESE A/KA/ MICHEAL                      §
JOSEPH BREESE, Individually,                      §
               Defendants.                        §


             PLAINTIFF’S MOTION TO DISMISS WITHOUT PREJUDICE

TO THE HONORABLE JUDGE REBECCA RUTHERFORD:

       Comes now, CAN CAPITAL ASSET SERVICING, INC., F/K/A NEWLOGIC

BUSINESS LOANS, INC., Plaintiff in the above entitled and numbered cause of action and files

this its Motion to Dismiss without prejudice.

                                                      Respectfully submitted,

                                                      CERSONSKY, ROSEN & GARCIA, P.C.


                                                By: /s/ M. H. Cersonsky
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                                                   CAN CAPITAL ASSET SERVICING,
                                                   INC. F/K/A NEWLOGIC BUSINESS
                                                   LOANS, INC.
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                                  CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument was filed electronically on
this 31th day of October 2019, and served to the registered lawyer. Additionally, parties may access
this filing through the Court’s system and notice of this filing will be sent to all parties by operation
of the Court’s electronic filing system.

Via Regular mail and Electronic filing System.
Dale Ossip Johnson, Esq.
Attorney for Defendant
The Johnson Law Group
P.O. Box 427
Cedar Park, Texas 78630-0427
                                                     /s/ M. H. Cersonsky
                                                     M. H. Cersonsky
